                   Case 19-12056                       Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                                       Desc Main
                                                                          Document     Page 1 of 24
               Fill in this information to identify your case and this filing:

 Debtor 1                    Gary A. Pittsley
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Theresa C. Pittsley
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number            1:19-bk-12056                                                                                                                         Check if this is an
                                                                                                                                                               amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        2697 Cranberry Hwy Apt 30                                                                                              the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property .
                                                                               Condominium or cooperative
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the        Current value of the
        Wareham                           MA        02571-5016                     Land                                       entire property?            portion you own?
        City                              State          ZIP Code                  Investment property                              $201,178.00                  $201,178.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Tenancy in Common
        Plymouth                                                                   Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                          $201,178.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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                 Case 19-12056                 Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                    Desc Main
                                                               Document     Page 2 of 24
 Debtor 1
 Debtor 2         Pittsley, Gary A. & Pittsley, Theresa C.                                                     Case number (if known)     1:19-bk-12056

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:       Ford                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Fusion FWD                             Debtor 1 only                                             Creditors Who Have Claims Secured by Property .
         Year:       2012                                    Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 75380          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $4,643.00                 $4,643.00
                                                               (see instructions)



  3.2    Make:       Chevrolet                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Impala                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:       2001                                   Debtor 2 only                                             Current value of the      Current value of the
         Approximate mileage:                 72290          Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                  At least one of the debtors and another

                                                             Check if this is community property                                $1,168.00                 $1,168.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                 $5,811.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Miscellaneous furnishings.                                                                                               $2,500.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....




Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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                  Case 19-12056                            Doc 13                Filed 07/01/19 Entered 07/01/19 14:19:56                           Desc Main
                                                                                  Document     Page 3 of 24
 Debtor 1
 Debtor 2          Pittsley, Gary A. & Pittsley, Theresa C.                                                                Case number (if known)   1:19-bk-12056

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.       Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            Miscellaneous clothing.                                                                                                  $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $3,250.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              Cash on
                                                                                                                              persons.                                 $40.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.      Checking Account                       Rockland Trust Account No.xxxx6264.                                  $612.50



                                              17.2.      Checking Account                       Santander Bank                                                       $563.55



Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 3
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                Case 19-12056                    Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                Desc Main
                                                                 Document     Page 4 of 24
 Debtor 1
 Debtor 2        Pittsley, Gary A. & Pittsley, Theresa C.                                                      Case number (if known)   1:19-bk-12056

18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                     Institution name:
                                        401(k) or Similar Plan               Merrill A Bank of America Company/Walmart                                $51,059.41

                                        401(k) or Similar Plan               Home Depot Future Builder Plan                                           $39,131.56


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.




Official Form 106A/B                                                  Schedule A/B: Property                                                                 page 4
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                Case 19-12056                      Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                                              Desc Main
                                                                      Document     Page 5 of 24
 Debtor 1
 Debtor 2        Pittsley, Gary A. & Pittsley, Theresa C.                                                                   Case number (if known)         1:19-bk-12056

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................            $91,407.02

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 5
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                  Case 19-12056                        Doc 13               Filed 07/01/19 Entered 07/01/19 14:19:56                                                 Desc Main
                                                                             Document     Page 6 of 24
 Debtor 1
 Debtor 2         Pittsley, Gary A. & Pittsley, Theresa C.                                                                              Case number (if known)   1:19-bk-12056


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $201,178.00
 56. Part 2: Total vehicles, line 5                                                                            $5,811.00
 57. Part 3: Total personal and household items, line 15                                                       $3,250.00
 58. Part 4: Total financial assets, line 36                                                                  $91,407.02
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $100,468.02               Copy personal property total          $100,468.02

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $301,646.02




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
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                   Case 19-12056               Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                                 Desc Main
                                                                  Document     Page 7 of 24
              Fill in this information to identify your case:

 Debtor 1                 Gary A. Pittsley
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:19-bk-12056
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
   Miscellaneous furnishings.                                                                                                     11 USC § 522(d)(3)
   Line from Schedule A/B: 6.1
                                                                      $2,500.00                                    $2,500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Miscellaneous clothing.                                                                                                     11 USC § 522(d)(3)
      Line from Schedule A/B: 11.1
                                                                          $750.00                                    $750.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Cash on persons.                                                                                                            11 USC § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                           $40.00                                     $40.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Rockland Trust Account                                                                                                      11 USC § 522(d)(5)
      No.xxxx6264.
                                                                          $612.50                                    $612.50
      Line from Schedule A/B: 17.1                                                           100% of fair market value, up to
                                                                                              any applicable statutory limit

      Santander Bank                                                                                                              11 USC § 522(d)(5)
      Line from Schedule A/B: 17.2
                                                                          $563.55                                    $563.55
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 3
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                Case 19-12056                  Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                              Desc Main
                                                               Document     Page 8 of 24
     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Merrill A Bank of America                                                                                              11 USC § 522(d)(12)
     Company/Walmart
                                                                  $51,059.41                               $51,059.41
     Line from Schedule A/B: 21.1                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     Home Depot Future Builder Plan                                                                                         11 USC § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                  $39,131.56                               $39,131.56
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 3
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                   Case 19-12056               Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                                 Desc Main
                                                                  Document     Page 9 of 24
 Fill in this information to identify your case:

 Debtor 1
                             First Name                     Middle Name                     Last Name

 Debtor 2                    Theresa C. Pittsley
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number            1:19-bk-12056
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 3 of 3
Software Copyright (c) 2019 CINGroup - www.cincompass.com
                   Case 19-12056                  Doc 13           Filed 07/01/19 Entered 07/01/19 14:19:56                                    Desc Main
                                                                    Document     Page 10 of 24
              Fill in this information to identify your case:

 Debtor 1                   Gary A. Pittsley
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Theresa C. Pittsley
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:19-bk-12056
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Americredit/Gm
 2.1                                              Describe the property that secures the claim:                  $5,959.00                 $1,168.00           $4,791.00
         Financial
         Creditor's Name
                                                  2001 Chevrolet Impala

         Attn: Bankruptcy                         As of the date you file, the claim is: Check all that
         PO Box 183853                            apply.
         Arlington, TX 76096-3853                  Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2017-01                   Last 4 digits of account number        0894




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 3
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                Case 19-12056                    Doc 13             Filed 07/01/19 Entered 07/01/19 14:19:56                              Desc Main
                                                                     Document     Page 11 of 24
 Debtor 1 Gary A. Pittsley                                                                                 Case number (if known)   1:19-bk-12056
              First Name                  Middle Name                     Last Name
 Debtor 2 Theresa C. Pittsley
              First Name                  Middle Name                     Last Name


        Deutsche Bank National
 2.2                                               Describe the property that secures the claim:                 $212,492.00         $201,178.00    $11,314.00
        Trust Company
        Creditor's Name
                                                   2697 Cranberry Hwy Apt 30,
        Korde & Associates                         Wareham, MA 02571-5016
        900 Chelmsford St #                        As of the date you file, the claim is: Check all that
        Streeet                                    apply.
        Lowell, MA 01851-8100                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2005                        Last 4 digits of account number        6856

        The Home Depot Future
 2.3                                               Describe the property that secures the claim:                   $3,077.23          $39,131.56         $0.00
        Builder Plan
        Creditor's Name
                                                   Home Depot Future Builder Plan

                                                   As of the date you file, the claim is: Check all that
        2455 Paces Ferry Rd SE                     apply.
        Atlanta, GA 30339-6444                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
 Debtor 2 only                                         car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        6653


 2.4
        Wells Fargo Dealer
        Services                                   Describe the property that secures the claim:                   $5,547.00           $4,643.00      $904.00
        Creditor's Name
                                                   2012 Ford Fusion FWD

        Attn: Bankruptcy                           As of the date you file, the claim is: Check all that
        PO Box 19657                               apply.
        Irvine, CA 92623-9657                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2016-08                     Last 4 digits of account number        4257


Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
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               Case 19-12056                   Doc 13       Filed 07/01/19 Entered 07/01/19 14:19:56                                       Desc Main
                                                             Document     Page 12 of 24
 Debtor 1 Gary A. Pittsley                                                                        Case number (if known)          1:19-bk-12056
             First Name                Middle Name                 Last Name
 Debtor 2 Theresa C. Pittsley
             First Name                Middle Name                 Last Name




 Add the dollar value of your entries in Column A on this page. Write that number here:                         $227,075.23
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                        $227,075.23

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Deutsche Bank
        1 International Pl                                                                 Last 4 digits of account number   6856
        Boston, MA 02110-2602

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        Gm Financial
        PO Box 181145                                                                      Last 4 digits of account number   0894
        Arlington, TX 76096-1145

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Ocwen Loan Servicing
        PO Box 660264                                                                      Last 4 digits of account number   6856
        Dallas, TX 75266-0264

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.4
        Wells Fargo Dealer Svc
        PO Box 1697                                                                        Last 4 digits of account number   4257
        Winterville, NC 28590-1697




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
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                   Case 19-12056                  Doc 13          Filed 07/01/19 Entered 07/01/19 14:19:56                                           Desc Main
                                                                   Document     Page 13 of 24
      Fill in this information to identify your case:

 Debtor 1                  Gary A. Pittsley
                           First Name                       Middle Name                          Last Name

 Debtor 2                  Theresa C. Pittsley
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:19-bk-12056
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Comenitycb/dtlfirstfin                                 Last 4 digits of account number         9857                                                              $0.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept                                  When was the debt incurred?             2014-10-17
              PO Box 182125
              Columbus, OH 43218-2125
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                         Contingent
              Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Revolving account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com                                                        G12563
               Case 19-12056                   Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                      Desc Main
                                                               Document     Page 14 of 24
 Debtor 1
 Debtor 2 Pittsley, Gary A. & Pittsley, Theresa C.                                                  Case number (if known)            1:19-bk-12056

          Peter Roberts &
 4.2      Associates/Premier Diagn                              Last 4 digits of account number       0941                                               $38.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2015-05
          231 E Main St Ste 201
          Milford, MA 01757-2821
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.3      Premier Diagnostic Service                            Last 4 digits of account number       4701                                              $137.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2015-10
          92 Bolt St Ste 1
          Lowell, MA 01852-5316
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.4      Synchrony Bank/ Jc Penneys                            Last 4 digits of account number       1540                                                $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                 When was the debt incurred?           1993-06-14
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 4
Software Copyright (c) 2019 CINGroup - www.cincompass.com
                Case 19-12056                   Doc 13           Filed 07/01/19 Entered 07/01/19 14:19:56                                       Desc Main
                                                                  Document     Page 15 of 24
 Debtor 1
 Debtor 2 Pittsley, Gary A. & Pittsley, Theresa C.                                                        Case number (if known)         1:19-bk-12056

 4.5       Synchrony Bank/ Jc Penneys                              Last 4 digits of account number          1424                                                 $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                   When was the debt incurred?              1996-04-23
           PO Box 965060
           Orlando, FL 32896-5060
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                          Contingent
           Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenitycb/dntfirst                                         Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 182120                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218-2120
                                                             Last 4 digits of account number                      9857
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Premier Diagnostic Servi                                    Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 92 Bolt St # 1                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Lowell, MA 01852-5316
                                                             Last 4 digits of account number                      4701
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Radiology Assocs. of Ply                                    Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 219 E Main St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Milford, MA 01757-2823
                                                             Last 4 digits of account number                      0941
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/jcp                                                   Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 965007                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5007
                                                             Last 4 digits of account number                      1540
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb/jcp                                                   Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 965007                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5007
                                                             Last 4 digits of account number                      1424

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 4
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                Case 19-12056                   Doc 13           Filed 07/01/19 Entered 07/01/19 14:19:56                               Desc Main
                                                                  Document     Page 16 of 24
 Debtor 1
 Debtor 2 Pittsley, Gary A. & Pittsley, Theresa C.                                                   Case number (if known)    1:19-bk-12056

                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.     $                        0.00

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.     $                        0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.     $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.     $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                            $                      175.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.     $                      175.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 4
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                   Case 19-12056                 Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                            Desc Main
                                                                    Document     Page 17 of 24
              Fill in this information to identify your case:

 Debtor 1                 Gary A. Pittsley
                          First Name                         Middle Name              Last Name

 Debtor 2                 Theresa C. Pittsley
 (Spouse if, filing)      First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number           1:19-bk-12056
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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                   Case 19-12056                    Doc 13            Filed 07/01/19 Entered 07/01/19 14:19:56                 Desc Main
                                                                       Document     Page 18 of 24
              Fill in this information to identify your case:

 Debtor 1                   Gary A. Pittsley
                            First Name                           Middle Name        Last Name

 Debtor 2                   Theresa C. Pittsley
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number            1:19-bk-12056
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                     Page 1 of 1
Software Copyright (c) 2019 CINGroup - www.cincompass.com
                  Case 19-12056             Doc 13        Filed 07/01/19 Entered 07/01/19 14:19:56                                  Desc Main
                                                           Document     Page 19 of 24


Fill in this information to identify your case:

Debtor 1                      Gary A. Pittsley

Debtor 2                      Theresa C. Pittsley
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MASSACHUSETTS, BOSTON
                                              DIVISION

Case number               1:19-bk-12056                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              Sales Clerk                                  Dept. Supervisor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Wal-Mart Associates, Inc.                    Home Depot USA. Inc.

       Occupation may include student or Employer's address
                                                                     702 SW 8th St                                2455 Paces Ferry Rd SE
       homemaker, if it applies.
                                                                     Bentonville, AR 72716-6209                   Atlanta, GA 30339-6444

                                             How long employed there?           24 years                                   19 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         3,877.72        $         3,511.27

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      3,877.72               $   3,511.27




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
             Case 19-12056              Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                    Desc Main
                                                        Document     Page 20 of 24
Debtor 1
Debtor 2    Pittsley, Gary A. & Pittsley, Theresa C.                                                Case number (if known)    1:19-bk-12056


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      3,877.72       $         3,511.27

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        891.16        $         712.85
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00        $           0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $           0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $         160.17
      5e.    Insurance                                                                       5e.        $        210.38        $         328.39
      5f.    Domestic support obligations                                                    5f.        $          0.00        $           0.00
      5g.    Union dues                                                                      5g.        $          0.00        $           0.00
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $           0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          1,101.54       $       1,201.41
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          2,776.18       $       2,309.86
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00    $              0.00
      8b. Interest and dividends                                                             8b.        $              0.00    $              0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00    $              0.00
      8d. Unemployment compensation                                                          8d.        $              0.00    $              0.00
      8e.    Social Security                                                                 8e.        $              0.00    $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            2,776.18 + $       2,309.86 = $           5,086.04
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $           5,086.04
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
             Case 19-12056                 Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                    Desc Main
                                                           Document     Page 21 of 24


Fill in this information to identify your case:

Debtor 1                Gary A. Pittsley                                                                     Check if this is:
                                                                                                              An amended filing
Debtor 2                Theresa C. Pittsley                                                                   A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS, BOSTON                                         MM / DD / YYYY
                                           DIVISION

Case number           1:19-bk-12056
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
                 No
                Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                                                                                  Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                          500.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                          0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                          0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                        100.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                          0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case 19-12056                  Doc 13          Filed 07/01/19 Entered 07/01/19 14:19:56                                      Desc Main
                                                           Document     Page 22 of 24

Debtor 1
Debtor 2     Pittsley, Gary A. & Pittsley, Theresa C.                                                  Case number (if known)       1:19-bk-12056

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              150.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              150.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              350.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               95.00
10.   Personal care products and services                                                      10. $                                                43.00
11.   Medical and dental expenses                                                              11. $                                               225.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                 97.33
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               211.75
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify: Furniture                                                          17c. $                                                25.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,197.08
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $                       2,890.57
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       5,087.65
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               5,086.04
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              5,087.65

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                   -1.61

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
      Yes.               Explain here: None




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 19-12056                 Doc 13         Filed 07/01/19 Entered 07/01/19 14:19:56                                Desc Main
                                                           Document     Page 23 of 24

Debtor 1
Debtor 2      Pittsley, Gary A. & Pittsley, Theresa C.                                               Case number (if known)   1:19-bk-12056


Fill in this information to identify your case:

Debtor 1              Gary A. Pittsley                                                                  Check if this is:
                                                                                                         An amended filing
Debtor 2              Theresa C. Pittsley                                                                A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                         expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS, BOSTON                                 MM / DD / YYYY
                                           DIVISION

Case number           1:19-bk-12056
(If known)
                                                                                                        

Official Form 106J-2
Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                        12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space
is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Part 1:       Describe Your Household

1.    Do you and Debtor 1 maintain separate households?
           No. Do not complete this form.
       Yes
2.    Do you have dependents?             No
      Do not list Debtor 1 but             Yes.
      list all other dependents
      of Debtor 2 regardless
      of whether listed as a
      dependent of Debtor 1                        Fill out this information for    Dependent’
                                                                                             s relationship to       Dependent’
                                                                                                                              s      Does dependent
      on Schedule J.                               each dependent................   Debtor 2                         age             live with you?

      Do not state the                                                                                                                No
      dependents names.
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
      .                                                                                                                               No
                                                                                                                                      Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                            Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                       1,111.75

      If not included in line 4:

      4a.     Real estate taxes                                                                            4a. $                             0.00
      4b.     Property, homeowner’
                                 s, or renter’
                                             s insurance                                                   4b. $                             0.00
Official Form 106J                                                   Schedule J: Your Expenses                                                        page 3
           Case 19-12056                  Doc 13          Filed 07/01/19 Entered 07/01/19 14:19:56                                      Desc Main
                                                           Document     Page 24 of 24

Debtor 1
Debtor 2     Pittsley, Gary A. & Pittsley, Theresa C.                                                  Case number (if known)       1:19-bk-12056

      4c.   Home maintenance, repair, and upkeep expenses                                                    4c. $                                 100.00
      4d. Homeowner’   s association or condominium dues                                                     4d. $                                   0.00
5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                   0.00

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              160.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                26.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              211.00
      6d. Other. Specify: Cable And Internet                                                   6d. $                                               130.00
7.    Food and housekeeping supplies                                                             7. $                                              400.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              150.00
10.   Personal care products and services                                                      10. $                                                43.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               100.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               121.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               137.82
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Your monthly expenses. Add lines 5 through 21.                                                                   $                        2,890.57
    The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
    calculate the total expenses for Debtor 1 and Debtor 2.

23. Line not used on this form.
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
      Yes.               Explain here: None




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
